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1580.002
                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                              EASTERN DIVISION

  ALSTORY SIMON,
                                             Plaintiff,
                                        v.                                            No.:      15-cv-01433
  NORTHWESTERN UNIVERSITY,                                                                      Honorable Robert M. Dow, Jr.
                                                                                                Courtroom 1919
  et al.,
                                             Defendants.

                       STIPULATION TO DISMISS BETWEEN PLAINTIFF
                   AND DEFENDANTS NORTHWESTERN AND DAVID PROTESS

             Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby

stipulated and agreed upon by Plaintiff, Alstory Simon, and Defendants,

Northwestern University and David Protess, that this action be dismissed with

prejudice with each party to bear their own respective costs and attorney’s fees.



Respectfully Submitted,

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